              Case 2:17-cr-00222-TLN Document 76 Filed 08/18/20 Page 1 of 1
                            UNITED STATES DISTRICT COURT FOR THE
                                                                                                FILED
                                                                                               Aug 18, 2020
                                EASTERN DISTRICT OF CALIFORNIA                              CLERK, U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                 )
                                          )                  2:17-cr-00222-TLN
                              Plaintiff,  )
            v.                             )
                                          )                 DETENTION ORDER
RACHEL FELIX,                             )                 (Violation of Pretrial Release,
                                          )                 Probation or Supervised Release)
                              Defendant.  )
__________________________________________)

        X      After a hearing pursuant to 18 U.S.C. ' 3148 (violation of pretrial release order), the court
               finds :
                       G there is probable cause to believe the person has committed a federal,
                       state or local crime while on release and defendant has not rebutted the
                       presumption that his release will endanger another or the community or
                       X there is clear and convincing evidence that defendant has violated
                       another condition of release and
                               G based on the factors set forth in 18 U.S.C. ' 3142(g) there is no condition
                               or combination of conditions of release that will assure that the defendant
                               will not flee or pose a danger to the safety of another person or the
                               community or
                               X the person is unlikely to abide by any condition or combination of
                               conditions of release. F.R.Cr.P. 32.1(a)(D), 46(c), 18 U.S.C. ' 3148.

       G       After a hearing pursuant to F.R.Cr.P. 32.1(a)(6) and 46(c) and 18 U.S.C. ' 3143
               (violation of probation or supervised release) the court finds there is probable cause
               to believe defendant has violated a condition of probation or supervised release and
               defendant has not met his/her burden of establishing by clear and convincing
               evidence that he will not flee or pose a danger to another person or to the community.
               18 U.S.C. ' 3143.

         IT IS ORDERED that pursuant to 18 U.S.C. ' 3142(i)(2)-(4) defendant is committed to the custody
of the Attorney General for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded reasonable opportunity for private consultation with his/her counsel. Upon further order of a court
of the United States or request of an attorney for the United States the person in charge of the corrections
facility in which defendant is confined shall deliver defendant to a United States Marshal for purpose of an
appearance in connection with a court proceeding.


       DATED: August 18, 2020
                                                            UNITED STATES MAGISTRATE JUDGE
